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                       UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF MICHIGAN


 JAMES BLEDSOE, et al., individually           Case No.: 4:16-cv-14024-TGB-RSW
 and on behalf of all others similarly
 situated,                                     Honorable Terrence G. Berg
                                               Magistrate Judge R. Steven Whalen
               Plaintiffs,
         v.
 FCA US LLC, a Delaware corporation,
 and CUMMINS INC., an Indiana
 corporation,


               Defendants.

 UNOPPOSED MOTION FOR LEAVE TO WITHDRAW WILLIAM KALAS
          AS COUNSEL OF RECORD FOR PLAINTIFFS

         Pursuant to L.R. 83.25(b)(2), undersigned counsel respectfully moves for

 leave to withdraw the appearance of William Kalas as counsel of record in this and

 all related matters on behalf of Plaintiff(s) in the above captioned action. As of

 January 13, 2023, Mr. Kalas is no longer with The Miller Law Firm, P.C.

         No substitution of counsel is necessary as Plaintiffs continue to be represented

 by other attorney(s) of record from The Miller Law Firm, P.C.

         Concurrence was sought and unopposed by defense counsel on January 27,

 2023.

 Dated: January 30, 2023                  Respectfully submitted,

                                          By: /s/ Dennis A. Lienhardt
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                                    E. Powell Miller (P39487)
                                    Sharon S. Almonrode (P33938)
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                     UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN


 JAMES BLEDSOE, et al., individually          Case No.: 4:16-cv-14024-TGB-RSW
 and on behalf of all others similarly
 situated,                                    Honorable Terrence G. Berg
                                              Magistrate Judge R. Steven Whalen
             Plaintiffs,
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 FCA US LLC, a Delaware corporation,
 and CUMMINS INC., an Indiana
 corporation,


             Defendants.

       BRIEF IN SUPPORT OF UNOPPOSED MOTION FOR LEAVE
                  TO WITHDRAW WILLIAM KALAS
               AS ONE OF COUNSEL FOR PLAINTIFFS

       For their brief in support, Plaintiffs rely on the contents of their Motion.

 Dated: January 30, 2023                Respectfully submitted,

                                        By: /s/ Dennis A. Lienhardt
                                        E. Powell Miller (P39487)
                                        Sharon S. Almonrode (P33938)
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                                        Attorneys for Plaintiffs
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                             CERTIFICATE OF SERVICE

        I hereby certify that on January 30, 2023, I electronically filed the foregoing

 document with the Clerk of the Court using the ECF system which will send notification

 of such filing to the attorneys of record.


                                              /s/ Dennis A. Lienhardt
                                              Dennis A. Lienhardt
